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UNITED STATES DISTRICT CoURT

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Central District of California

In the Matter of the Search of:
Information associated With the accounts described in
Attachment A Within the possession, custody, or
control of Google, Inc.

Case No. 2118-MJ-0839

WARRANT PURSUANT TO 18 U.S.C. § 2703
To: Any Authorized Law Enforcement Officer
An application by a federal law enforcement officer requests the production and search of the following data:
See Attachmem‘ A
The data to be produced and searched, described above, are believed to contain the following:
See Attachment B

l find that the aftidavit, or any recorded testimony, establishes probable cause to produce and search the data
described in Attachment A, and to seize the data described in Attachment B. Attachments A and B are
incorporated herein by reference

AUTHORIZED LAW ENFORCEMENT OFFICER/S IS/ARE HEREBY COMMANDED to serve this
Warrant on Google, Inc. in the daytime, between the hours of 6:00 a.m. and lO:OO p.m., Within 14 days from the
date of its issuance.

GOOGLE, INC. IS HEREBY COlV,[lVlANDED to produce the information described in Attachment A Within
10 calendar days of the date of service of this order. GOOGLE, INC. IS FURTHER COMMANDED to
comply With the further orders set forth in Attachment B.

The officer executing this Warrant, or an officer present during the execution, shall prepare an inventory as
required by law, and shall promptly return this Warrant and the inventory to the United States Magistrate Judge
on duty at the time of the return through a filing With the Clerk’s Office.

AUTHORIZED LAW ENFORCEMENT OFFICER/S IS/ARE FURTHER COMMANDED to perform
the search of the data provided by Google, Inc. pursuant to the procedures t forth in Attac ent B.
L//q/Zo/? /Z‘-/rf.»\. MM .

Date:

 

 

 

Jua'ge's Signature

City and State: 16 § /4"‘¢9‘- 05 ‘ 674 Hon. Alexander F. MaeKinnon.
U.S. Magistrate Judge

Printed name and title

 

AUSA: Khaldoun Shobaki X0759

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Return
Case No: Date and time warrant served on providers
3'~'3~"'13“@63°1 °‘t/\O/\b b 9'.\\/11~4

 

 

Inventory made in the presence of: 3
U

'BE)\WD\~

 

Inventorjy of data seized:
[Please provide a description of the information produced.]

0,\) wm 317/mei enemy me rlvomogp iLGsFDN'S§ b%TTU/L
two eeouesw\o mae viii @»@oau?'s trw wardeer flawed
S‘JSTBM, fwer q ?”Y.l "»6 (cmupaeue\/)) u\\ 912,€ .

 

 

Certification

 

1 declare under penalty of perjury that lam an ojicer involved in the execution of this warrant, and that this
inventory is correct and was returned along with the original warrant to the designated judge through ajl`ling
with the Clerk’s Ojj'z`ce.

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Printed name and title

 

 

 

